BAD Be) Case: 1:21-cv-01256 DobullMdikt BO FAR: SBYBAYAI Page 1 of 1 PagelD #:17

The ILND 44 civil cover sheet and the information contained herein neither replace nor pupplemiens the filing and service of pleadings or other papers as required by law, except
as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (See instructions on next page of this form.)

I. (a) PLAINTIFFS DEFENDANTS
CHARLES TILL NATIONAL GENERAL ACCIDENT AND HEALTH INSURANCE COMPANY
(b) County of Residence of First Listed Plaintiff DuPage County of Residence of First Listed Defendant DuPage
(Except in U.S. plaintiff cases) (In US. plaintiff cases only)

Note: In land condemnation cases, use the location of the tract of land involved.

(c) Attorneys (firm name, address, and telephone number) Attorneys (Jf Known)

John C. Kreamer, Kreamer Law Group, LLC
1100 E. Warrenville Rd., #3135
Naperville, IL 60563: (630) 995-3668

I, BASIS OF nH Lome box. ont III. CITIZENSHIP OF PRINCIPAL PARTIES (or Diversity Cases Only)
OF JURISDICTION (Check one box, only.) (Check one box, only for plaintiff and one box for defendant.)

(1 US. Government (]3 Federal Question PTF DEF PTF DEF

Plaintiff (U.S. Government not a party.) a7 2 Incorporated or Principal Place of

Citizen of This State o1 oO 1 Business in This State O4 O4
(J2 U.S. Government O14 Diversity Citizen of Another State [J] 2 1 2 Incorporated and Principal Place [] 5 os
Tpo! pe
Defendant (Indicate citizenship of parties in Item III.) of Business in Another State

Citizen or Subject of a
Foreign Country O3 O 3

Foreign Nation Oe Oe

IV. NATURE OF SUIT (Check one box, only.)

[= CONTRACT TORTS PRISONER PETITIONS.
110 Insurance PERSONAL INJURY PERSONAL INJURY |[] >!0 Motions to Vacate Dy 710 Fair Labor Standards 171375 False Claims Act
[120 Marine [1310 Airplane O1 530 General (1 530 General (1 720 Labor/Management {376 . a USC
(1315 Airplane Product Liability 3
[1 320 Assault, Libel & Slander 0) 367 a ail 1 535 Death Penalty Betations (11400 State Reapportionment
11130 Miller Act [1330 Federal Employers Personal Injury
Liability Product Liability Habeas Corpus: O 740 Railway Labor Act [410 Antitrust
(1 140 Negotiable Instrument 340 Marine __..__ [J 368 Asbestos Personal |[]540 Mandamus & Other (] 751 Family and Medical |[] 430 Banks and Banking
(1150 Recovery of Overpayment |[] 345 Marine Product Liability Injury Product (1550 Civil Rights LeaveAct {1450 Commerce
& Enforcement of Judgment |] 350 Motor Vehicle Liability (555 Prison Condition 0 790 Other Labor Litigation} [7] 460 Deportation
(11151 Medicare Act (355 Motor Vehicle Product [79560 Civil Detainee - @] 791 Employee Retirement |[]470 Racketeer Influenced
01 152 Recovery of Defaulted Liability PERSONAL PROPERTY Conditions Income Security Act and Corrupt
Student Loan (J 360 Other Personal Injury of Confinement Organizations
(Excludes Veterans) o 362 Personal Injury - Medical [[] 370 Other Fraud (1480 Consumer Credit
Malpaictice PROPERTY RIGHTS
oO 153 Se of Veteran’s alpra 371 Truth in Lending C1 820 Copyright (11485 Telephone Consumer
(0 160 Stockholders’ Suits ( 380 Other Personal 0 830 Patent Protection Act (TCPA)
(190 Other Contract Property Damage (1 835 Patent - Abbreviated |[] 490 Cable/Sat TV
(195 Contract Product Liability 1 385 Property Damage New Drug Application |] 850 Securities/Commodities/
(1 196 Franchise Product Liability (1 840 Trademark Exchange
[1] 880 Defend Trade Secrets |] 890 Other Statutory Actions
Act of 2016(DTSA) {1891 Agricultural Arts
~ REAL PROPERTY CIVIL RIGHTS _ BANKRUPTCY FORFEITURE/PENALTY SOCIAL: SECURITY {1893 Environmental Matters
L] 210 Land Condemnation LJ 440 Other Civil Rights 422 Appeal 28 USC 158 625 Drug Related Seizur CL) 861 HIA (1395ff) (1895 Freedom of Information
C1 220 Foreclosure D441 Voting 423 Withdrawal Sere C1 862 Black Lung (923) Act
0 230 Rent Lease & Ejectment {1 442 Employment 28 USC 157 (1 690 Other 0 863 DIWC/DIWW C1896 a
ministrative
OD 240 Torts to Land 1443 Housing/Accommodations (405(g)) C1?" procediire
CO 245 Tort Product Liability 0 445 Amer. w/ Disabilities- IMMIGRATION —__ C1 864 SSID Title XVI Act/Review or Appeal of
(J 290 All Other Real Pro Employment LJ 462 Naturalization C1 865 RSI (405(g)) Agency Decision
peny (446 Amer. w/Disabilities - Application (11950 Constitutionality of
Other 0 463 Habeas Corpus - "FEDERAL TAXES _ State Statutes
CO 448 Education Alien Detainee 1 870 Taxes (U.S. Plaintiff
(Prisoner Petition) or Defendant
0 465 Other Immigration O 871 IRS—Third Party
Actions 26 USC 7609
V. ORIGIN (Check one box, only.)
wl 1 Original oO 2 Removed from Oo 3  Remanded from Oo 4 Reinstated oO 5 Transferred Oo 6 Multidistrict Oo 8 Multidistrict
Proceeding State Court Appellate Court or Reopened from Another Litigation - Litigation -
District Transfer Direct File
(specify)
pecily

VII. PREVIOUS BANKRUPTCY MATTERS (For nature of suit 422 and

423, enter the case number and judge for any associated bankruptcy matter previously adjudicated by
a judge of this Court. Use a separate attachment if necessary.)

VI. CAUSE OF ACTION ( Enter U.S. Civil Statute under which you are filing and

write a brief statement of cause.)
Violation of Erisa

Vill. REQUESTED IN Oo Check if this is a class action under Rule 23, Demand $ en oF CHECK Yes only if demanded in complaint:
COMPLAINT: F.R.CVP. , Jury Demand: [] Yes OO No

IX. RELATED CASE(S) IF ANY (See instructions): __ Judge Case Number

X. Is this a previously dismissed or remanded case? [] Yes I No Ifyes, Case # Name of Judge

Date: March 5, 2021 Signature of Attorney of Record 4 &

